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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLUMBIA



 Cube Infrastructure Fund SICAV, Cube
 Infrastructure Managers S.A., Cube Energy
 S.C.A. (now Cube Energy S.à.r.l.), Demeter
 Partners S.A., and Demeter 2 FPCI,

                                 Plaintiffs,           Civil Action No. 1:20-cv-01708-EGS

                          v.

 The Kingdom of Spain,

                                 Defendant.


                                   NOTICE OF APPEARANCE

        PLEASE TAKE NOTICE that Thomas C. Childs of the law firm King & Spalding LLP,

hereby appears in this action as counsel for Plaintiffs and requests that all parties serve on him

copies of all papers filed in this action.

        I certify that I am admitted to practice in this Court and that I am a registered electronic

case filing user.

Dated: December 29, 2021
       New York, New York
                                               Respectfully submitted,

                                                 /s/ Thomas C. Childs
                                               Thomas C. Childs (Bar ID: NY0449)

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